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ARCHER & GREINER, P.C.                                              Presentment Date: March 13, 2019
630 Third Avenue                                                    Presentment Time: 12:00 Noon
New York, New York 10017
Tel: (212) 682-4940
Allen G. Kadish
Harrison H.D. Breakstone
Email: akadish@archerlaw.com
        hbreakstone@archerlaw.com

Proposed Counsel for Park Monroe Housing
Development Fund Corporation, Northeast
Brooklyn Partnership and 984-988 Greene
Avenue Housing Development Fund Corporation,
Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

In re:                                                              Chapter 11

PARK MONROE HOUSING DEVELOPMENT                                     Case No. 19-40820 (CEC)
  FUND CORPORATION,

               Debtor.

--------------------------------------------------------------x

In re:                                                              Chapter 11

NORTHEAST BROOKLYN PARTNERSHIP,                                     Case No. 19-40822 (CEC)

               Debtor.

--------------------------------------------------------------x

In re:                                                              Chapter 11

984-988 GREENE AVENUE HOUSING                                       Case No. 19-40823 (CEC)
   DEVELOPMENT FUND CORPORATION,

               Debtor.

--------------------------------------------------------------x
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                    NOTICE OF PRESENTMENT OF
                  MOTION OF PARK MONROE HOUSING
                 DEVELOPMENT FUND CORPORATION,
              NORTHEAST BROOKLYN PARTNERSHIP, AND
        984-988 GREENE AVENUE HOUSING DEVELOPMENT FUND
       CORPORATION FOR AN ORDER EXTENDING TIME TO FILE
SCHEDULES, STATEMENTS AND LISTS REQUIRED BY BANKRUPTCY RULE 1007

TO THE HONORABLE CARLA E. CRAIG,
CHIEF UNITED STATES BANKRUPTCY JUDGE:

               PLEASE TAKE NOTICE that PARK MONROE HOUSING DEVELOPMENT

FUND CORPOATION, NORTHEAST BROOKLYN PARTNERSHIP and 984-988 GREENE

AVENUE HOUSING DEVELOPMENT FUND CORPORATION (collectively, the “Debtors”),

debtors and debtors-in-possession, filed the annexed Motion (the “Motion”) for an order,

substantially in the form attached to the Motion as Exhibit A extending time to file the schedules,

statements and lists required by Bankruptcy Rule 1007.

               PLEASE TAKE FURTHER NOTICE that the Motion will be presented to the

Honorable Carla E. Craig, United States Bankruptcy Judge, in Chambers, at the United States

Bankruptcy Court for the Eastern District of New York, 271-C Cadman Plaza East, Suite 1595,

Brooklyn, New York 11201-1800, for signature on Wednesday, March 13, 2019 at 12:00 Noon (the

“Presentment Date”).

               PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought in

the Motion must be (i) electronically filed with the Bankruptcy Court; (ii) delivered to the Chambers

of the Honorable Carla E. Craig, (iii) served upon Archer & Greiner, P.C., counsel to the Debtors,

Attn: Allen G. Kadish, Esq., 630 Third Avenue, New York, New York 10017; and (iv) served upon

the Office of the United States Trustee, 201 Varick Street, New York, New York 10014, so as to be

filed and received no later than Wednesday, March 13, 2019 at 11:30 a.m. (the “Objection

Deadline”).
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               PLEASE TAKE FURTHER NOTICE THAT if no objections are timely filed and

served, the Debtors may, on or after the Objection Deadline, submit the Order to the Court

substantially in the form annexed hereto which Order may be entered on or after the Presentment

Date with no further notice or opportunity to be heard offered to any party.

Dated: New York, New York                    ARCHER & GREINER, P.C.
       February 15, 2019

                                             By:    s/ Allen G. Kadish
                                                 Allen G. Kadish
                                                 Harrison H.D. Breakstone
                                             630 Third Avenue
                                             New York, New York 10017
                                             Tel: (212) 682-4940
                                             Email: akadish@archerlaw.com
                                                    hbreakstone@archerlaw.com

                                             Proposed Counsel for Park Monroe Housing
                                             Development Fund Corporation, Northeast
                                             Brooklyn Partnership and 984-988 Greene
                                             Avenue Housing Development Fund Corporation,
                                             Debtors and Debtors-in-Possession
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ARCHER & GREINER, P.C.                                              Presentment Date: March 13, 2019
630 Third Avenue                                                    Presentment Time: 12:00 Noon
New York, New York 10017
Tel: (212) 682-4940
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Proposed Counsel for Park Monroe Housing
Development Fund Corporation, Northeast
Brooklyn Partnership and 984-988 Greene
Avenue Housing Development Fund Corporation,
Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

In re:                                                              Chapter 11

PARK MONROE HOUSING DEVELOPMENT                                     Case No. 19-40820 (CEC)
  FUND CORPORATION,

               Debtor.

--------------------------------------------------------------x

In re:                                                              Chapter 11

NORTHEAST BROOKLYN PARTNERSHIP,                                     Case No. 19-40822 (CEC)

               Debtor.

--------------------------------------------------------------x

In re:                                                              Chapter 11

984-988 GREENE AVENUE HOUSING                                       Case No. 19-40823 (CEC)
   DEVELOPMENT FUND CORPORATION,

               Debtor.

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                  MOTION OF PARK MONROE HOUSING
                 DEVELOPMENT FUND CORPORATION,
              NORTHEAST BROOKLYN PARTNERSHIP, AND
        984-988 GREENE AVENUE HOUSING DEVELOPMENT FUND
       CORPORATION FOR AN ORDER EXTENDING TIME TO FILE
SCHEDULES, STATEMENTS AND LISTS REQUIRED BY BANKRUPTCY RULE 1007

TO THE HONORABLE CARLA E. CRAIG,
CHIEF UNITED STATES BANKRUPTCY JUDGE:

       PARK MONROE HOUSING DEVELOPMENT FUND CORPORATION, NORTHEAST

BROOKLYN PARTNERSHIP and 984-988 GREENE AVENUE HOUSING DEVELOPMENT

FUND CORPORATION (collectively, the “Debtors”), debtors and debtors-in-possession, by their

proposed counsel, Archer & Greiner, P.C., as and for their motion (the “Motion”), pursuant to

section 105(a) of the United States Bankruptcy Code (the “Bankruptcy Code”), and Federal Rule of

Bankruptcy Procedure 1007(a)(5) (the “Bankruptcy Rule”), seeking an order, substantially in the

form attached hereto as Exhibit A, to extend time to file the schedules, statements and lists

(collectively, the “Schedules”) required by Bankruptcy Rule 1007, respectfully represents as

follows:

                                            Background

       1.      On February 11, 2019, each of the Debtors filed voluntary petitions for relief under

Chapter 11 of title 11 of the Bankruptcy Code.

       2.       The factual background regarding the Debtors, including their current and historical

business operations and the events precipitating each Chapter 11 filing, is set forth in detail in each

Declaration of Jeffrey E. Dunston Pursuant to Local Bankruptcy Rule 1007-4 filed in support of

each of the Chapter 11 petitions herein, incorporated herein by reference.

       3.      The Debtors continue in possession of their property and continue to operate and

manage their businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of the
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Bankruptcy Code.

       4.      No trustee or committee has been appointed in these cases.

                                     Jurisdiction and Venue

       5.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334. This

matter is core within the meaning of 28 U.S.C. § 157(b)(2)(A) and (O). Venue is proper pursuant to

28 U.S.C. § 1408.

       6.      The statutory predicates for the relief sought herein are section 105(a) of the

Bankruptcy Code and Bankruptcy Rule 1007.

                                         Relief Requested

       7.      The Debtors respectfully seek an order extending time to file their Schedules.

                                         Legal Authority

       8.      Bankruptcy Rule 1007(a)(1) requires the debtor to file:

                       A list containing the name and address of each entity included or to
                       be included on Schedules D, E/F, G and H as prescribed by the
                       Official Forms.

       9.      Pursuant to Bankruptcy Rule 1007(a)(3), “[i]n a chapter 11 reorganization case,

unless the court orders otherwise, the debtor shall file within 14 days after entry of the order for

relief a list of the debtor’s equity security holders of each class showing the number and kind of

interests registered in the name of each holder, and the last known address or place of business of

each holder.” Bankruptcy Rule 1007 also requires the filing of other schedules, statements and lists.

       10.     Bankruptcy Rule 1007(a)(5) allows an extension of time for the filing of the

schedules, statements and lists required by Bankruptcy Rule 1007(a) “for cause shown.”

       11.     The Debtors intend to comply with all relevant requirements, and to file all the

required Schedules as soon as reasonably practicable under the circumstances in accordance with
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applicable Bankruptcy Rules.

        12.    To prepare the required Schedules, the Debtors must compile information from

books, records and documents, which given the scope of the Debtors’ businesses, the complexity of

their financial affairs and the limited time and staffing available, is impractical to file in a timely

fashion. Given the significant burdens already imposed on the Debtor as a result of this Chapter 11

case, the Debtors request additional time to complete and file the requested Schedules.

        13.    The Debtors seek approximately thirty days, or through March 18, 2019, to do so.

                                         No Prior Request

        14.    No prior request for the relief sought in this Motion has been made to this or any

other Court.

                                             Conclusion

        WHEREFORE, the Debtors respectfully seek an Order, substantially in the form annexed

hereto, extending time to file the Schedules for approximately thirty days, or through March 18,

2019, and granting the Debtors such other and further relief as this Court deems just and proper.

Dated: New York, New York                      ARCHER & GREINER, P.C.
       February 15, 2019
                                               By:    s/ Allen G. Kadish
                                                   Allen G. Kadish
                                                   Harrison H.D. Breakstone
                                               630 Third Avenue
                                               New York, New York 10017
                                               Tel: (212) 682-4940
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                                               Proposed Counsel for Park Monroe Housing
                                               Development Fund Corporation, Northeast
                                               Brooklyn Partnership and 984-988 Greene
                                               Avenue Housing Development Fund Corporation,
                                               Debtors and Debtors-in-Possession

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                              Exhibit A
                           Proposed Order
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

In re:                                                              Chapter 11

PARK MONROE HOUSING DEVELOPMENT                                     Case No. 19-40820 (CEC)
  FUND CORPORATION,

               Debtor.

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In re:                                                              Chapter 11

NORTHEAST BROOKLYN PARTNERSHIP,                                     Case No. 19-40822 (CEC)

               Debtor.

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In re:                                                              Chapter 11

984-988 GREENE AVENUE HOUSING                                       Case No. 19-40823 (CEC)
   DEVELOPMENT FUND CORPORATION,

               Debtor.

--------------------------------------------------------------x

                 ORDER EXTENDING TIME TO FILE SCHEDULES,
           STATEMENTS AND LISTS REQUIRED BY BANKRUPTCY RULE 1007

          Upon the Motion (the “Motion”) of PARK MONROE HOUSING DEVELOPMENT FUND

CORPORATION, NORTHEAST BROOKLYN PARTNERSHIP and 984-988 GREENE AVENUE

HOUSING DEVELOPMENT FUND CORPORATION (collectively, the “Debtors”), pursuant to

section 105(a) of the United States Bankruptcy Code and Federal Rule of Bankruptcy Procedure (the

“Bankruptcy Rule”) 1007(a)(5), for an order extending time to file schedules, statements and lists

(the “Schedules”) required by Bankruptcy Rule 1007; and it appearing that notice of the Motion was
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adequate and proper; and there being good and sufficient cause for granting the relief sought in the

Motion; it is hereby

        ORDERED that the Debtors shall have through, and shall file the Schedules on or before,

March 18, 2019; and it is further

        ORDERED that the Debtors are authorized to take all actions necessary to implement the

relief granted in this Order; and it is further

        ORDERED that this Court shall retain jurisdiction over all matters arising from or related to

the interpretation and implementation of this Order.
